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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: KATRINA CANAL BREACHES * CIVIL ACTION
LITIGATION * 05-4182
* MAGISTRATE 2
* SECTION “K”
*
PERTAINS TO: 07-4944 *
FRANK CINA *

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MOTION TO DISMISS

NOW INTO COURT, through undersigned counsel, comes The Southeast
Louisiana Flood Protection Authority East (“SLFPA”), who respectfully moves this
Honorable Court to dismiss with prejudice plaintiffs’ claims against it pursuant to Rule
12(B)(6) of the Federal Rules of Civil Procedure.

WHEREFORE, after due consideration is had, and for the reasons set forth in
the attached Memorandum in Support hereof, defendant respectfully requests that
plaintiffs’ claims against SLFPA should be dismissed with prejudice.

Respectfully submitted

DUPLASS, ZWAIN, BOURGEOIS, MORTON,
PFISTER & WEINSTOCK

S/Jennifer M. Morris

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Protection Authority East
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CERTIFICATE OF SERVICE

I hereby certify that on the 4" day of December, 2007, a copy of the foregoing
The Southeast Louisiana Flood Protection Authority East was filed electronically with
the Clerk of Court using the CM/ECF system. Notice of this filing has been forwarded to
all known counsel of record by operation of the court’s electronic filing system or by
depositing a copy in the United States mail, properly addressed and postage prepaid.

S/Jennifer M. Morris

JENNIFER M. MORRIS (#29936)
